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                          UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF ILLINOIS


NATHAN L. TERWILLIGER, individually and
on behalf of all others similarly situated,
                                               No. 1:18-cv-03074
                                 Plaintiff,

         v.                                    CLASS ACTION COMPLAINT

CBOE GLOBAL MARKETS, INC., CBOE                JURY TRIAL DEMANDED
FUTURES EXCHANGE LLC, and CHICAGO
BOARD OPTIONS EXCHANGE, INC.,

                              Defendants.




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         Plaintiff, Nathan L. Terwilliger (“Plaintiff”), by and through his attorneys, individually

and on behalf of all others similarly situated, brings this action on his own behalf and on behalf

of a class consisting of all persons who, between January 1, 2008, and April 30, 2018 (the “Class

Period”), purchased VIX Options or VIX Futures, held them on the settlement dates for their

instruments, and were harmed as a result of Defendants’ actions as alleged herein (the “Class”).

This action is based upon Plaintiff’s personal knowledge of his own acts and upon information

and belief as to all other matters alleged herein, including the investigation of Plaintiff’s counsel,

against Cboe Global Markets Inc., Cboe Futures Exchange LLC, and Chicago Board Options

Exchange, Inc. (collectively “CBOE” or “Defendants”).

                                 I.     SUMMARY OF THE CASE
         1.       This case turns in part on the concept of market volatility, which is uncertainty

about future changes in the value of securities. Market volatility is important to investors, as it

has a strong relationship with market performance: market volatility tends to decline as the stock

market rises, and increase as the market falls.

         2.       The most popular measure of near-term market volatility is the VIX, an index

created and calculated by the CBOE and over which it has exclusive commercial rights. The VIX

purports to represent the stock market’s expectation of volatility over the next 30 days. CBOE

calculates the VIX using weighted prices for certain out-of-the-money Standard & Poor 500

Options (“SPX Options”), a security created by the CBOE for its own business purposes and

traded only on the CBOE’s own exchange, for which CBOE itself retains ultimate responsibility

and control.

         3.       CBOE commercialized its VIX index by creating proprietary products called VIX

Futures and VIX Options that also trade only on CBOE’s own exchange. Every transaction

involving VIX Futures and Option contracts generates a fee for CBOE, and these fees, together

with fees generated by trading in SPX Options, make up the majority of CBOE’s total revenues.

CBOE repeatedly touted VIX Futures and VIX Options to investors as effective tools for trading

and risk management.



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         4.       The settlement value of VIX Futures and VIX Options is calculated by CBOE by

reference to a figure called the VIX Special Opening Quotation (“SOQ”), using a methodology

created by CBOE specifically for this purpose. Rather than looking at transactions in SPX

Options over the course of the trading day, the generation of the VIX SOQ turns on out-of-the-

money SPX Options trades and quotes posted during a very short period—an auction occurring

before the trading day begins.

         5.       This proprietary SOQ process, which CBOE designed and executed in pursuit of

its own commercial interests, could cheaply and easily be manipulated by traders seeking illicit

profits in their trading of VIX Futures and VIX Options. There are several reasons for this

vulnerability: first, the SOQ turns on trades or quotes posted in a short, premarket auction rather

than during the trading day.1 Accordingly, even a single manipulative trade posted in that period

of relative illiquidity could move the VIX up or down. Second, the cost for such manipulative

trading is minimal, as CBOE imposed only a five cent per-option contract threshold for the bid

quote of an SPX Option to be included in the settlement calculation. Third, the SOQ process’ use

of quotes provided by traders rather than actual trades enabled traders to easily manipulate the

SOQ value without engaging in actual trades.

         6.       In this respect the SOQ process created and executed by CBOE lacked

fundamental safeguards imposed by other commercial volatility indexes such as the VSTOXX, a

European market volatility index, which, like VIX, is also traded through options and futures.

VSTOXX, however, is calculated based on actual trading that occurs during a period in normal

market hours, and only options trades with a premium of .5 Euros are included in its

calculation—a bar more than ten times higher than that employed by CBOE. France’s financial



    1
      See, e.g., CBOE, Settlement Information for VIX Derivatives, http://cfe.cboe.com/cfe-
products/vx-cboe-volatility-index-vix-futures/settlement-information-for-vix-derivatives (“The
final settlement value for the VIX futures and options is a [SOQ] of the VIX index calculated
using opening prices of constituent SPX or SPX Weekly options that expire 30 days after the
relevant VIX expiration date … If there is no opening trade, the opening price is the average of
an option’s bid and ask price determined at the open.”) (last accessed Apr. 30, 2018).


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markets regulator, Autorité des Marchés Financiers, has asserted that the VIX settlement process

is much more vulnerable to manipulation than the VSTOXX.

         7.       Given these serious flaws, it is not surprising that there is ample evidence that the

settlement process for VIX Futures and VIX Options is in fact routinely manipulated up to the

present day, to the detriment of investors in these instruments on CBOE’s exchange, including

Plaintiff. A May 23, 2017 paper by academics John Griffin and Amin Shams describes

suspicious spikes between 2008 and 2015 in the volume of the out-of-the-money options used to

calculate the VIX SOQ, occurring at the settlement time of the VIX index. Griffin and Sham

conclude that these spikes are consistent with manipulation and are inconsistent with innocent

trading practices such as hedging.

         8.       Experts retained by Plaintiff conducted their own independent analysis of the VIX

Futures and VIX Options settlement process in 2018, and similarly concluded that on SOQ

settlement dates for VIX Futures and VIX Options there were massively higher volumes of

trading in the out-of-the-money SPX options that influence the SOQ settlement pricing of these

instruments relative to other dates. They found similar suspicious volume and other indications

consistent with manipulation on April 18, 2018, the expiration date of VIX Options purchased by

Plaintiff.

         9.       Strikingly, the CBOE itself took the unusual step of acknowledging in a Form 8-K

dated April 24, 2018, that the VIX final settlement value on April 18, 2018, was “higher than

what market participants may have otherwise expected” and asserted that it intended to take

certain steps to improve its settlement processes.

         10.      Despite the vulnerabilities in the design of the VIX SOQ process, the mounting

evidence that VIX was in fact being systematically manipulated, and the foreseeability of the

harm such manipulation would pose to investors trading in VIX Futures and VIX Options,

CBOE in bad faith did nothing to alter its SOQ calculation process or address its defects, as it

had powerful financial incentives to permit manipulation to go on. On monthly settlement days,

manipulation gave rise to markedly higher trading volume, which in turn resulted in higher



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transaction fees for CBOE. This failure to take reasonable care to ensure the SOQ settlement

process was free of manipulation resulted in billions in losses to investors like Plaintiff who

traded in VIX Futures and Options and held these instruments on their settlement dates, when

manipulation occurred.

         11.      By its conduct, CBOE is liable to the Class under the common law of negligence,

as it breached the quantum of reasonable care it owed Plaintiff and the Class to ensure that its

services settling VIX Futures and Options on its own exchange were not subject to illicit

manipulation. By the same conduct, the CBOE also violated the Commodity Exchange Act,

which requires that the CBOE observe rules requiring it to prevent manipulation and other

abusive practices in its contract market.

         12.      The investigation by counsel for Plaintiff into the factual allegations contained

herein is continuing, and Defendants uniquely possess or control many of the facts supporting

Plaintiff’s allegations. Plaintiff believes substantial additional evidentiary support will exist for

the allegations set forth herein after a reasonable opportunity for discovery.

                               II.     JURISDICTION AND VENUE
         13.      The case presents claims under the common law of negligence and the

Commodities Exchange Act (“CEA”). Accordingly, the Court has jurisdiction under Section 22

of the CEA, 7 U.S.C. § 25, and pursuant to 28 U.S.C. § 1331.

         14.      This is also a class action arising under the Class Action Fairness Act of 2005

(“CAFA”), 28 U.S.C. §§ 1332(d), 1453, 1711-1715, which explicitly provides for the original

jurisdiction of the Federal Courts over any class action in which any member of the plaintiff

class is a citizen of a state different from any defendant, and in which the matter in controversy

exceeds in the aggregate the sum of $5,000,000, exclusive of interest and costs. Plaintiff alleges

that the total claims of the individual members of the Class are in excess of $5,000,000 in the

aggregate, exclusive of interest and costs, as required by 28 U.S.C. § 1332(d)(2)(A).




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         15.      This Court has personal jurisdiction over each Defendant. All Defendants have:

(1) transacted business in this District; (2) substantial contacts in this District; and (3) committed

substantial acts, or negligently failed to undertake action, in this District.

         16.      Venue is proper in this District under 28 U.S.C. § 1391 (b), (c), and (d).

Defendants resided and transacted business or had agents in this District.

                                           III.     PARTIES
         17.      Plaintiff Nathan L. Terwilliger is a resident of Michigan. During the Class Period

he purchased VIX Options settling on April 18, 2018, and held them on April 18, 2018, and he

has been injured by reason of Defendants’ violations of law.

         18.      Defendant Cboe Global Markets, Inc. is a Delaware corporation with its principal

place of business in Chicago, Illinois.

         19.      Cboe Futures Exchange, LLC is a Delaware limited liability company with its

principal place of business in Chicago, Illinois.

         20.      Chicago Board Options Exchange, Inc. is a corporation organized under the laws

of Delaware with its principal place of business in Chicago, Illinois.

         21.      Defendants Cboe Global Markets, Inc., Cboe Futures Exchange, LLC, Chicago

Board Options Exchange, LLC, and their subsidiaries, officers, and directors are referenced

collectively in this complaint at “CBOE” or “Defendants”.

                                IV.     FACTUAL BACKGROUND
         22.      Like all U.S. exchanges, CBOE maintains its own private business interests,

including the provision of certain intangible services to investors. Indeed, Cboe Global Markets,

Inc. is a for-profit corporation that is publicly traded on the NASDAQ exchange.

         23.      The commercial activities of CBOE generate substantial operating revenues, of

which the lion’s share is fees produced by transactions in CBOE’s proprietary products linked by

exclusive license to the Standard & Poor’s 500 (“S&P500”), a stock market index based on the

market capitalizations of 500 large companies having common stock listed on the NYSE or

NASDAQ. These products consist of S&P 500 Options, VIX Futures, and VIX Options.



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         24.      CBOE provides investors with a suite of S&P500 options (“SPX Options”) that

trade exclusively on CBOE. SPX Options are widely traded at various strike prices and

maturities, and are an important indicator of investor sentiment, because their prices rise when

investors predict near-term market volatility in the S&P500, and fall when investors forecast

narrower expected fluctuations in the S&P500.

         25.      Relying on this feature, CBOE used SPX Options quotation and trading data to

develop its proprietary VIX Volatility Index, which is an index of market volatility over the

upcoming thirty days, sometimes referred to as the “fear gauge.” Outside the SOQ of a

settlement day, CBOE calculates VIX based on SPX Options with more than 23 days and less

than 37 days to expiration, relying on bid and ask quotes only, rather than actual trades.2

         26.      CBOE also successfully commercialized other instruments related to its

proprietary VIX calculation, including VIX Futures and VIX Options, both of which trade only

on CBOE’s exchange.

         27.      VIX Futures are contracts whose value depend on the VIX calculated during the

SOQ at some future date which, in turn, depends on SPX Options pricing and/or quotes of this

date. Investors can seek to profit in their trading of VIX Futures by holding a long or short

contract through the settlement date, at which point CBOE determines whether the holder of the

futures contract is entitled to receive a final-day distribution from the exchange, or must pay a

final-day distribution to the exchange, depending on whether the prior day’s closing price for the

contract is below or above the “spot price” for VIX at the time of settlement. Alternatively, the

holder of a VIX future may close its position before the settlement date by buying or selling an

offsetting obligation.

         28.      VIX Options give investors a different type of risk exposure to the VIX. VIX

Options have designated expirations, which are Wednesdays unless adjusted for the holidays,

and, unlike futures contracts, designated strike prices. An investor who is long (short) on a VIX

    2
      See CBOE, The BOE Volatility Index – VIX® (White Paper) (2014), available at
https://www.cboe.com/micro/vix/vixwhite.pdf .


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Call Option will receive (pay) a cash amount equal to the greater of zero and the VIX calculated

at the SOQ of the expiration minus the strike price. An investor who is long (short) on a VIX Put

Option will receive (pay) a cash amount equal to the greater of zero and the strike price minus

the VIX calculated at the SOQ of the expiration. Investors may not settle VIX Options prior to

the expiration date.

         29.      Monthly VIX Options and VIX Futures are typically settled on the third or fourth

Wednesday of each month, with infrequent adjustments based on various exchange holidays, and

their exercise-settlement values are determined by CBOE using the clearing prices of SPX

options in the SOQ that lasts for approximately an hour. Between 7:30 a.m. CST and 8:15 a.m.

CST, traders and market makers can submit and cancel orders, while between 8:15 a.m. and 8:30

a.m. only orders relating to SPX Options within the eligible range of option strike prices can be

submitted.3 At 8:30 a.m. the CBOE executes SPX options orders at market-clearing prices and

removes unexecuted orders. SPX Options auction clearing prices at that time are used to

calculate VIX settlement value. Quoting the CBOE Regulatory Circular RG17-019,4 “The

opening price for any constituent option series in which there is no trade on CBOE will be the

average of that option’s bid price and ask price as determined at the opening of trading.” SPX

Options with bid quotes as low as just five cents are eligible for inclusion in the SOQ period’s

determination of VIX settlement.

         30.      In certain important respects this process differs from the way other volatility

indexes are calculated. The European counterpart to VIX, called VSTOXX, is a gauge similar to

CBOE’s index; investors can acquire exposure to it through trades in options and futures. Unlike

the VIX, however, VSTOXX excludes options with prices of less than .5 Euros, a bar nearly ten

times higher than that employed by CBOE. Furthermore, VSTOXX is calculated based on actual

    3
      CBOE asserts in some public statements that it changed the period from 8:15 to 8:30 a.m. to
8:20 to 8:30 a.m. earlier in 2018, which does not appear to be consistent with some available
data.
    4
      See CBOE, Regulatory Circular RG17-019 (Feb. 6, 2017), available at
http://www.cboe.com/publish/RegCir/RG17-019.pdf


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trades during a period in trading hours, rather than a combination of trades and quotes in a

relatively illiquid period before market. The French markets regulator Autorité des Marchés

Financiers has asserted that these distinctions make the VIX settlement process much more

vulnerable to manipulation than the VSTOXX.

         31       Indeed, features of the SOQ settlement process designed and implemented by

CBOE make it very vulnerable to manipulation. First, the fact that the SOQ is set during a short

window before trading opens means that even a single manipulative trade in this period can have

an outsize impact on the calculation of the SOQ, which in turn permits lucrative profits on

investments in futures and options settled by means of the SOQ process. Such leverage would

not be possible if, like the VSTOXX, the SOQ settlement price was set during normal trading

hours when trading volume is high and when the manipulative effect of individual trades would

be dispersed. Moreover, CBOE imposes only a five-cent threshold on bid quotes of options

contracts for inclusion in the SOQ settlement calculation, making manipulative trades quite

cheap. Finally, in permitting the SOQ process to take into account quotes rather than just actual

trades, CBOE makes the process vulnerable to traders who wish to move the index via behaviors

like “spoofing”—the rapid submission and then cancellation of an order.

         30.      Expert analysis undertaken by academics studying VIX and independent work by

Plaintiff’s experts reflect that, throughout the Class Period, the VIX index and the SOQ process

were in fact systematically manipulated.

         31.      In a paper entitled “Manipulation in the VIX?” released May 23, 2017, John M.

Griffin and Amin Shams examined data reflecting trading in both SPX Options and VIX Futures

and Options between January of 2008 and April of 2015 derived from Tick Data, Bloomberg, the

CBOE itself, and other sources. The authors concluded:

                  First, at the exact time of monthly VIX settlement, highly
                  statistically and economically significant trading volume spikes
                  occur in the underlying VIX options. Second, the spike occurs only
                  in the OTM [out-of-the-money] SPX options that are included in
                  the VIX settlement calculation and not in the excluded in-the-
                  money (ITM) SPX options. Third, there is no spike in the volume
                  for the similar S&P 100 Index (OEX) or SPDR S&P 500ETF
                  (SPY) options that are unconnected to volatility index derivatives.


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                  Fourth, if traders sought to manipulate the VIX settlement, they
                  would want to move the prices by optimally spreading their trades
                  across the SPX spikes and increasing the number of trades in the
                  deep OTM put options consistent with the VIX formula. Trading
                  volume at settlement follows this pattern, whereas normally deep
                  OTM options are rarely traded. Fifth, there are certain options that
                  have discontinuously higher weight in the VIX formula but are
                  otherwise very similar to other options. These options exhibit
                  jumps in trading volume at settlement that are not present at
                  normal times.

Griffin and Shams further concluded that these observations were not consistent with alternative,

non-sinister explanations for volume spikes like pent-up liquidity demand and hedging.

          32.     Experts retained by Plaintiff, after conducting their own independent investigation

of settlement dates in 2018, came to strikingly similar conclusions.

          33.     For all VIX derivative monthly settlement days in 2018 that they examined, the

SOQ volume for out-of-the-money SPX Options—that is, the contracts used to calculate VIX for

the SOQ process—far exceeds the SOQ volume on nearby weekly settlement dates not used for

derivative settlements.5 This striking contrast is reflected in the charts below.

          35.     On March 28, 2018, a date which is not used for the purpose of calculating VIX

settlement values for monthly VIX Options and VIX Futures, there is a very low volume of

contracts meeting the SOQ requirements—the greatest volume is only 25 contracts:




    5
      See the data available at CBOE, Settlement Information, http://cfe.cboe.com/cfe-
products/vx-cboe-volatility-index-vix-futures/settlement-information-for-vix-derivatives/vix-
settlement-series (last visited Apr. 30, 2018).


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                                Mar 28 Volume vs Option Strike
                       30

                       25

                       20

                       15

                       10

                        5

                        0
                         1000    1500   2000     2500     3000     3500      4000

                Figure 1: March 28, 2018 (not a settlement date for monthly contracts)
         36.      On March 21, on the other hand, a monthly settlement date used for the

calculation of VIX SOQ for VIX Futures and VIX Options, there is extraordinary volume,

exceeding 2,000 contracts, and the volume is at the furthest out-of-the-money put strike. The

Figure 2 behavior of the number of contracts rising steeply as strike price decreases is a

“manipulation hallmark” that Griffin and Shams discovered and explained. Further, a recent

(April 23, 2018) CBOE 8-K itself describes this pattern for a different monthly settlement date as

“… [appearing] consistent with the weights prescribed by the VIX Index formula.” It is both the

greatly elevated quotation volume and the suspicious relationship to the out-of-the-money strike
prices that indicate manipulative intent of market participants submitting the orders.




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                                 Mar 21 Volume vs Option Strike
                       2500

                       2000

                       1500

                       1000

                        500

                         0
                          1000     1500   2000     2500    3000     3500     4000

                  Figure 2: March 21, 2018 (a settlement date for a monthly contract)
         34.      Figure 3 shows this same SOQ settlement volume data for April 18, 2018, which

is a monthly settlement date. As it happens, the April 18 volume far exceeds the closest earlier

monthly settlement date of March 21. The April 18 total volume of all strike prices is 207,000 (a

ratio of roughly 800 to the total volume of 252 for the non-monthly SOQ settlement date of

March 28). The April 18 volume-versus-strike-price data invites the same observations as that of

the March 21 data. Both the very high volume and the pattern of sharply increasing volume at

lower strike prices are indicators of manipulation. The VIX calculation formula has the feature of

increasing mathematical “weight” (essentially, “importance”) of option prices at lower strikes.
Griffin and Shams argue that, mathematically speaking, the optimal manipulation strategy would

employ the same “weight” in the volume of orders submitted with intent to manipulate.




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                               Apr 18 Volume vs Option Strike
                       10000
                        9000
                        8000
                        7000
                        6000
                        5000
                        4000
                        3000
                        2000
                        1000
                           0
                            1000    1500      2000       2500    3000     3500    4000

                   Figure 3: April 18, 2018 (a settlement date for a monthly contract)


This data is aggregated in the chart below, which plots the number of SPX Option contracts

versus the strike price for each of the three dates (two monthly settlement dates at March 21 and

April 18 and one non-monthly settlement date at March 28). The last curve appears to be “at

zero” since its contract volumes are so small relative to those of the monthly settlement dates.

The vastly increased volume on monthly settlement dates implies the attempts of one or more

market participants to influence the final VIX settlement of the SOQ on these dates.


                               Volume vs Option Strike
                       10000
                        9000
                        8000
                        7000
                        6000                                                     18-Apr
                        5000
                                                                                 21-Mar
                        4000
                        3000                                                     28-Mar
                        2000
                        1000
                           0
                            1000   1500    2000   2500    3000   3500   4000




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         35.      Startlingly, Cboe Global Markets itself issued a Form 8-K notice to investors

describing unusual volume in the SPX Options used in the SOQ on the VIX on April 18, 2018,

and acknowledging that it could undertake “improvements” to the VIX settlement process. The

notice stated (with emphasis added):

                  During the opening auction on April 18th, a single market
                  participant submitted orders to buy approximately 212,000 SPX
                  options across a wide range of strike prices. Five additional market
                  participants submitted buy orders totaling 20,000 options. The size
                  and structure of these buy orders appeared consistent with the
                  weights prescribed by the VIX Index formula. Offsetting this buy
                  interest were sell orders submitted by nine participants for a total
                  of 118,000 contracts. This left a buy order imbalance of 114,000
                  SPX options. This buy order imbalance contributed to the opening
                  prices of the option series that were used to calculate the final VIX
                  settlement value. Based on the orders that were submitted, we
                  believe the auction process functioned as intended,
                  notwithstanding that the final settlement value was higher than
                  what market participants may have otherwise expected.

                  The April settlement mirrors a larger liquidity trend we recently
                  have observed on VIX monthly settlement mornings. We are
                  assessing steps that Cboe can take to enhance the VIX settlement
                  process and attract more liquidity to our settlement auction. We
                  believe that our planned technology initiatives for Cboe Options
                  Exchange will provide our market-makers with the capability to
                  respond more efficiently to auctions at settlement. We are targeting
                  Monday, April 30th, for the migration of SPX options to our
                  Hybrid market model. Once migrated, all SPX market-makers will
                  be able to stream their own electronically accessible quotes. This
                  migration should increase the number of participants who can
                  quote during the opening auction which can lead to increased
                  liquidity.

                  The migration of SPX to the Hybrid market model will also bring
                  other enhancements to market-makers. Electronic allocation on
                  simple and complex order trades will be pro-rata with no customer
                  priority or market-maker participation entitlements. We expect
                  these enhancements will provide more transparency, with more
                  visible quotes, leading to more interaction and ultimately,
                  improved liquidity, including possibly during the SPX opening
                  used for VIX settlement.

                  These initiatives to enhance market-maker liquidity are by no
                  means our last. As we prepare for the migration of Cboe Options
                  Exchange to Bats technology in October 2019, we plan to
                  incorporate further enhancements to the “new” Cboe Options
                  marketplace.




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A.       Harm to Plaintiff

         36.      During the period March 22 to April 9, 2018, the Plaintiff made four discrete

purchases of VIX Put Options with a common expiration date of April 18, 2018, and a common

option strike value of 16. His combined position was 220 contracts. By the specification of these

CBOE VIX Put Option contracts, the payment to Plaintiff at expiration would be 220 contracts

multiplied by 100 and again multiplied by the greater of zero or the difference between the strike

price of 16 and the VIX setting at completion of SOQ on April 18. Hence, if the final VIX

setting on this day had been 15, the Plaintiff would have received a cash payment of 220 x 100 x

(16-15) = $22,000. Alternatively, had the final VIX setting been 17, the Plaintiff would have

received zero.

         37.      Data of a public source shows that the VIX index had been 15.16 at 8:14 a.m.

(Chicago time) on April 18. This is the last public value available prior to the time gap of 8:15

a.m. to 8:30 a.m. The official VIX setting for this SOQ was 17.26 (taken as the CBOE-listed

VIX Futures settlement price). The next succeeding VIX value is 16.15 at 8:31 a.m. (just one

minute after the termination of the SOQ and, therefore, not directly relevant to this VIX Option

value). At the 8:14 a.m. value of 15.16, the Plaintiff would have received a cash settlement

payment of $18,480. Instead, with the final VIX setting at 17.26, a jump of more than 2 points,

the Plaintiff’s position was worthless.

         38.      Hence, the Plaintiff was directly harmed by the manipulation-fed VIX spike
during the last minutes of the April 18, 2018 SOQ, and in this respect his injuries are the same as

those of the Class.

B.       Special Allegations Regarding CBOE’s Negligence
         39.      CBOE owed Plaintiff and the Class a cognizable duty of reasonable care based on

its public representations regarding VIX Options and Futures, its relationship to Plaintiff and the

Class as a professional provider of intangible services settling VIX Futures and VIX Option

contracts, and the foreseeability of the harm resulting from the exploitation of defects in the SOQ

settlement process.



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          CBOE’s marketing materials for its VIX Options and VIX Futures included the following

claims:

                  With the launch of VIX Futures at Cboe Futures Exchange (CFE)
                  in 2004 and VIX Options at Cboe in 2006, there has been a
                  growing acceptance of trading VIX and VIX-linked products as
                  risk management tools. VIX options and futures enable
                  investors to trade volatility independent of the direction or the
                  level of stock prices. Whether an investor’s outlook on the
                  market is bullish, bearish or somewhere in-between, VIX
                  futures and options can provide the ability to diversify a
                  portfolio, as well as hedge, mitigate or capitalize on broad
                  market volatility.
          40.     Similarly, CBOE’s website asserted that “Cboe Volatility Index® (VIX®)

Options and Futures can help you turn volatility to your advantage. Harness it to seek

diversification, hedge or capitalize on volatility or efficiently generate income.”

          41.     Moreover, it was reasonably foreseeable to CBOE that the SOQ process it had

designed could be manipulated in a manner that would harm investors who traded in the VIX

Futures and VIX Options that were created by CBOE, were traded only on CBOE’s exchange,

and were settled by CBOE pursuant to a proprietary process as part of CBOE’s pursuit of

commercial profits. Indeed, as set out in Paragraph 31 above, the May 23, 2017 paper by Griffin

and Shams described in detail evidence that exactly this kind of manipulation was taking place.

          42.     CBOE breached this duty of care by unreasonably and in bad faith failing to

address flaws in the design of the SOQ that left the SOQ peculiarly vulnerable to manipulation.

The flaws included:

                        The SOQ period concentrates all VIX-determinative quotes and trades into
                         a small, relatively illiquid segment of time prior to the market open. Since

                         it is this period that rules payments to VIX Futures and Options holders,

                         would be-manipulators can effectuate manipulation using only a limited

                         number of orders or trades.

                        The VIX calculation for the SOQ will use the last traded price if any
                         trades occur, but the calculation will use the average of bid and ask quotes




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                         (not trades) when no trades occur during this SOQ period. This permitted

                         manipulation by a variety of means: traders could influence the VIX

                         settlement price by simply submitting put options quotes that are deeply

                         out-of-the money, or by delaying or canceling bids or asks on SPX

                         Options at certain strike prices. Posting a manipulative bid or ask quote

                         entails much less cost—especially when the posted quote is off-market (a

                         bid far below recent traded levels or an ask far above recent traded levels).

                        Similarly, the very low five cent per-option contract threshold for
                         contracts to be included in the calculation make it particularly cheap for

                         manipulators to move VIX without facing substantial exposure.

                        The range of SPX Options included in the VIX calculation is highly
                         variable since it depends strongly on the aggregation of bid and ask quotes

                         both within the SOQ and outside the SOQ. This range of SPX Options has

                         a strong impact on the VIX result: all else equal, the VIX calculation gives

                         a higher result when the range is larger and a lower result when the range

                         is smaller. Accordingly, traders could manipulate calculated VIX by the

                         simple expedient of expanding or contracting the range of bid and ask

                         quotes being used, by adding bid quotes at strike prices where there would

                         otherwise be no bids, or eliminating bids by trading them.

         43.      This breach was especially egregious in light of long-standing evidence available

to CBOE that the flaws in the design of the SOQ were being exploited by traders seeking illicit

profits. CBOE had access to all data relevant to every settlement, and had exclusive control both

over the settlement process itself and the final settlement prices it made available to the market.

By 2017 the weight of the data available even to outside experts was highly suggestive of

manipulation in the SOQ process, as set out by Griffin and Shams in their paper.

         44.      CBOE’s failure to remedy the defects in the SOQ process was in bad faith, in that

CBOE had a strong financial incentive to leave the defects unchecked so as to enjoy the financial



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benefits of increased volume in the trading of SPX Options, VIX Futures and VIX Options that

resulted from the manipulation.

         45.      As set out in Paragraphs 36 to 38 above, Plaintiff was injured by breach of care in

that he suffered harm as a result of a manipulated spike in volatility diminishing the value of his

VIX Options expiring April 18, 2018. Members of the Class who purchased VIX Futures and

VIX Options and who held those instruments on settlement days when volatility spiked as a

result of manipulation were injured in the same manner.

C.       Special Allegations Regarding CBOE’s Violations of the CEA
         46.      CBOE is a registered entity under the CEA, 7 U.S.C. § 1a.

         47.      Pursuant to 7 U.S.C. §25(b)(1), “[a] registered entity that fails to enforce any

bylaw, rule, regulation, or resolution that it is required to enforce by section 7, 7a-1, 7a-2, 7b-3,

or 24a of this title . . . [or] a licensed board of trade that fails to enforce any bylaw, rule,

regulation, or resolution that it is required to enforce by the Commission . . . shall be liable for

actual damages sustained by a person who engaged in any transaction on or subject to the rules

of such registered entity to the extent of such person’s actual losses that resulted from such

transaction and were caused by such failure to enforce . . . such bylaws, rules, regulations, or

resolutions.”

         48.      CEA provides that boards of trade, such as CBOE, shall:

                  a.     “establish, monitor, and enforce compliance with the rules of the contract

                         market, including . . .rules prohibiting abusive trade practices on the

                         contract market” (7 U.S.C. § 7(d)(2)(A));

                  b.     “have the capacity to detect, investigate, and apply appropriate sanctions

                         to any person that violates any rule of the contract market” (7 U.S.C.

                         § 7(d)(2)(B));

                  c.     “list on the contract market only contracts that are not readily susceptible

                         to manipulation” (7 U.S.C. § 7(d)(3));




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                  d.   “have the capacity and responsibility to prevent manipulation, price

                       distortion, and disruptions of the delivery or cash-settlement process

                       through market surveillance, compliance, and enforcement practices and

                       procedures, including—(A) methods for conducting real-time monitoring

                       of trading; and (B) comprehensive and accurate trade reconstructions” (7

                       U.S.C. § 7(d)(4));

                  e.   “reduce the potential threat of market manipulation or congestion

                       (especially during trading in the delivery month), the board of trade shall

                       adopt for each contract of the board of trade, as is necessary and

                       appropriate, position limitations or position accountability for speculators”

                       (7 U.S.C. § 7(d)(5)(A));

                  f.   “provide a competitive, open, and efficient market and mechanism for

                       executing transactions that protects the price discovery process of trading

                       in the centralized market of the board of trade.” (7 U.S.C. § 7(d)(9)(A));

                  g.   “maintain rules and procedures to provide for the recording and safe

                       storage of all identifying trade information in a manner that enables the

                       contract market to use the information—to assist in the prevention of

                       customer and market abuses; and (B) to provide evidence of any violations

                       of the rules of the contract market” (7 U.S.C. § 7(d)(10));

                  h.   “establish and enforce—(A) rules and procedures for ensuring the

                       financial integrity of transactions entered into on or through the facilities

                       of the contract market (including the clearance and settlement of the

                       transactions with a derivatives clearing organization) . . .” (7 U.S.C.

                       § 7(d)(11));

                  i.   “establish and enforce rules— (A) to protect markets and market

                       participants from abusive practices committed by any party, including

                       abusive practices committed by a party acting as an agent for a participant;



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                         and (B) to promote fair and equitable trading on the contract market” (7

                         U.S.C. § 7(d)(12)).

         49.      CBOE violated these rules in multiple respects. As set forth above, CBOE either

knew, or was reckless in disregarding, the fact that the SOQ process was not only vulnerable to

manipulation but actually was routinely manipulated, and that this conduct constituted abusive

trade practices. Nevertheless, CBOE did not stop VIX Futures and Options from trading, and did

not prevent the manipulation from occurring. These failures were the result of CBOE’s bad faith,

in that it profited from the high trading volume associated with the manipulation. These

violations of the CEA resulted in harm to Plaintiff and other members of the Class who held VIX

Futures and VIX Options on settlement days when there was manipulation of the SOQ process.

                             V.      CLASS ACTION ALLEGATIONS
         50.      Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of a class consisting of all persons who between January 1,

2008, and April 30, 2018 (the “Class Period”), purchased VIX Options or VIX Futures, held

them on the settlement dates for their instruments, and were harmed as a result of Defendants’

actions as alleged herein (the “Class”). Excluded from the Class are Defendants, their aiders and

abettors, directors and officers of CBOE, as well as their families and affiliates.

         51.      The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, VIX Futures and VIX Options were actively traded

on the CBOE. While the exact number of Class members is unknown to Plaintiff at this time and

can only be ascertained through appropriate discovery, Plaintiff believes that there are hundreds

or thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained or controlled by CBOE and may be notified of the

pendency of this action by mail or similar means.

         52.      There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class which

predominate over questions which may affect individual Class members include:



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                  a.     Whether the Defendants owe the Class a duty of reasonable care in the

                         settlement of VIX Futures and VIX Options;

                  b.     Whether Defendants breached that duty;

                  c.     Whether Defendants violated the CEA;

                  d.     The extent of damage sustained by Class members and the appropriate

                         measure of damages.

         53.      Plaintiff’s claims are typical of those of the Class because Plaintiff and the Class

sustained damages from Defendants’ wrongful conduct alleged herein.

         54.      Plaintiff will adequately protect the interests of the Class and has retained

experienced counsel. Plaintiff has no interests that conflict with those of the Class.

         55.      A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Furthermore, as the damages suffered by individual Class

members may be relatively small, the expense and burden of individual litigation makes it

impossible for members of the Class to individually redress the wrongs done to them. There will

be no difficulty in the management of this action as a class action.

                                    VI.     CAUSES OF ACTION

                                               COUNT I

                                Ordinary Negligence Against CBOE
         56.      Plaintiff incorporates by reference paragraphs 1–45 as fully set forth herein.

         57.      Defendants owed Plaintiff and the Class the duty of reasonable care, which they

breached.

         58.      Defendants were negligent in performing these duties in that they failed to use

reasonable care in the design and maintenance of the VIX calculation process and the SOQ

settlement process for VIX Options and VIX Futures, rendering them liable/and or strictly liable.

         59.      There is a strong public interest in these Defendants’ proper and non-negligent

performance of their duties.




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         60.      Because of Defendants’ breach of their legal duties, Plaintiff and the Class

suffered damages as described herein.

         61.      The damages suffered by Plaintiff and the Class were all general and special

damages arising from the natural and foreseeable consequences of Defendants’ conduct.

                                               COUNT II

       Failure to Enforce Bylaws, Rules, Regulations, or Resolutions in Violation of the
                                 Commodity Exchange Act
         62.      Plaintiff repeats and incorporates by reference Paragraphs 1–38 and 46–49 above.

         63.      Pursuant to 7 U.S.C. § 25(b)(1), “[a] registered entity that fails to enforce any

bylaw, rule, regulation, or resolution that it is required to enforce by section 7,7a-1,7a-2,7b-3or

24a of this title . . . [or] a licensed board of trade that fails to introduce any bylaw, rule,

regulation, or resolution that it is required to enforce by the Commission . . . shall be liable for

actual damages sustained by a person who engaged in any transaction on or subject to the rules

of such registered entity to the extent of such person’s actual losses that resulted from such

transaction and were caused by such failure to enforce . . . such bylaws, rules, regulations, or

resolutions.”

         64.      CBOE is a registered entity under the terms of 7 U.S.C. § 1a(40).

         65.      Plaintiff and other members of the Class engaged in transactions of VIX Futures

and VIX Options subject to the rules of CBOE.

         66.      As set forth above, CBOE knowingly failed to enforce (and /or with reckless

disregard of its rules and regulations avoid informing itself such that it was able to enforce) the

following rules that it was required to follow pursuant to the CEA:

                  a.     7 U.S.C. § 7(d)(2)(A): “The board of trade shall establish, monitor, and

                         enforce compliance with the rules of the contract market, including . . .

                         rules prohibiting abusive trade practices on the contract market.”




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                  b.   7 U.S.C. § 7(d)(2)(B): “The board of trade shall have the capacity to

                       detect, investigate, and apply appropriate sanctions to any person that

                       violates any rule of the contract market.”

                  c.   7 U.S.C. § 7(d)(3): “The board of trade shall list on the contract market

                       only contracts that are not readily susceptible to manipulation.”

                  d.   7 U.S.C. § 7(d)(4): “The board of trade shall have the capacity and

                       responsibility to prevent manipulation, price distortion, and disruptions of

                       the delivery or cash-settlement process through market surveillance,

                       compliance, and enforcement practices and procedures, including—(A)

                       methods for conducting real-time monitoring of trading; and (B)

                       comprehensive and accurate trade reconstructions.”

                  e.   7 U.S.C. § 7(d)(5)(A): “To reduce the potential threat of market

                       manipulation or congestion (especially during trading in the delivery

                       month), the board of trade shall adopt for each contract of the board of

                       trade, as is necessary and appropriate, position limitations or position

                       accountability for speculators.”

                  f.   7 U.S.C. § 7(d)(9)(A): “The board of trade shall provide a competitive,

                       open, and efficient market and mechanism for executing transactions that

                       protects the price discovery process of trading in the centralized market of

                       the board of trade.”

                  g.   7 U.S.C. § 7(d)(10): “The board of trade shall maintain rules and

                       procedures to provide for the recording and safe storage of all identifying

                       trade information in a manner that enables the contract market to use the

                       information—(A) to assist in the prevention of customer and market

                       abuses; and (B) to provide evidence of any violations of the rules of the

                       contract market.”




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                  h.     7 U.S.C. § 7(d)(11): “The board of trade shall establish and enforce—(A)

                         rules and procedures for ensuring the financial integrity of transactions

                         entered into on or through the facilities of the contract market (including

                         the clearance and settlement of the transactions with a derivatives clearing

                         organization) . . .”

                  i.     7 U.S.C. § 7(d)(12): “The board of trade shall establish and enforce

                         rules—(A) to protect markets and market participants from abusive

                         practices committed by any party, including abusive practices committed

                         by a party acting as an agent for a participant; and (B) to promote fair and

                         equitable trading on the contract market.”

         67.      As detailed in the Complaint above, CBOE had knowledge and/or with reckless

disregard of its rules/regulations avoided acquiring such knowledge that: the SOQ used for

settlement of VIX Futures and VIX Options was susceptible to being manipulated and was, in

fact, being manipulated; the manipulation of the SOQ was manipulating the value of VIX

Futures and VIX Options that CBOE allowed to be traded; this manipulation of the SOQ and

VIX Futures and VIX Options constituted abusive trade practices; and CBOE continued to offer

these products for trading, and failed to investigate, enforce, or apply appropriate sanctions

against individuals or entities engaged in this manipulation and abusive trade practices.

         68.      As detailed in the Complaint above, CBOE failed to enforce these rules in bad

faith. Specifically, CBOE knew that suspending trading in its proprietary products VIX Futures

and VIX Options that were susceptible to manipulation would negatively impact the transaction

fees and revenues CBOE realized during the Class Period, and would also negatively impact the

value of CBOE’s stock (including shares held by and paid to CBOE officers and directors as part

of their compensation). CBOE (including its officers and directors) therefore had a financial

incentive to allow the manipulation described above to continue.

         69.      CBOE’s conduct caused injury to Plaintiff and other members of the Class who

transacted in CBOE’s proprietary products, VIX Futures and VIX Options, that CBOE knew (or



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was recklessly indifferent to knowing) were being traded in a manipulated market, at

manipulated prices, and with artificial price trends, during the Class Period.

          70.     The damages to Plaintiff and other members of the Class were caused by CBOE’s

failure to enforce bylaws, rules, regulations, or resolutions that it was required to enforce under

the Commodity Exchange Act.

          71.     Plaintiff and other members of the Class are each entitled to damages for the

violations of the CEA alleged herein.
                                        PRAYER FOR RELIEF

          Plaintiff requests relief as follows:

          A.      That the Court determine that this action may be maintained as a class action

under Rule 23(a), (b)(l), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, and direct that

notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be

given to Class members;

          B.      That the Court enter an order declaring that Defendants’ actions, as set forth in

this Complaint, violate the law;

          C.      That the Court award Plaintiff and Class members damages, punitive damages,

and/or exemplary damages in an amount to be determined at trial;

          D.      That the Court award Plaintiff pre- and post-judgment interest;

          E.      That the Court award Plaintiff his costs of suit, including reasonable attorneys’
fees and expenses; and

          F.      That the Court award any and all such other relief as the Court may deem just and

proper.




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DATED: April 30, 2018.

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